

People v Reed (2017 NY Slip Op 07932)





People v Reed


2017 NY Slip Op 07932


Decided on November 9, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 9, 2017

PRESENT: WHALEN, P.J., SMITH, PERADOTTO, LINDLEY, AND CURRAN, JJ. (Filed Nov. 9, 2017.) 


MOTION NO. (771/12) KA 09-00281.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vLANCE J. REED, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








